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     POST CONFIRMATION
     QUARTERLY OPERATING REPORT



CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11

PERIOD COVERED: Quarter Ending March 31, 2019
                                                                                                 FINAL                                          FINAL
                                                         Williams Financial Group, Inc.   WFG Management Services   WFG Investments, Inc.   WFG Advisors, LP
                                                                   17-33578                     17-33579                 17-33580              17-33581           TOTAL

1.   BEGINNING OF PERIOD CASH BALANCE:                                                                                                                               3,763,422.63

     CASH RECEIPTS:
     CASH RECEIPTS DURING CURRENT QUARTER:
     (a). Cash receipts - from Debtor                                                                                                                                            -
     (b). Cash receipts - Pre-Confirmation Adjustment                                                                                                                            -
     (c). Cash receipts - from I/C Claim Payments                         18,295.96                       194.20                13,563.15                   -              32,053.31
     (d). Cash receipts - from Commissions                                   529.79                                              5,963.37                 70.36             6,563.52
     (e). Cash receipts - from refunds                                                                                              69.37                                      69.37
2.        TOTAL CASH RECEIPTS                                             18,825.75                       194.20                19,595.89                 70.36            38,686.20

     CASH DISBURSEMENTS:
     (A). PAYMENTS MADE UNDER THE PLAN:
          (1). Administrative                                              5,780.80                                                200.00                200.00             6,180.80
          (2). Secured Creditors                                              81.07                    73,244.44                      -                     -              73,325.51
          (3). Priority Creditors                                                                                               15,919.69                                  15,919.69
          (4). Unsecured Creditors                                                                                                                  117,539.29            117,539.29
          (5). Additional Plan Payments                                                                                                                                          -
     (B). OTHER PAYMENTS MADE THIS QUARTER:                                                                                                                                      -
          (1). General Business                                                                                                239,361.36             59,583.73           298,945.09
          (2). Other Disbursements (U.S. Trustee Fees)                        325.00                      975.00                 4,551.19              2,600.51             8,451.70
3.        TOTAL DISBURSEMENTS THIS QUARTER                                 6,186.87                    74,219.44               260,032.24           179,923.53            520,362.08


4.   CASH BALANCE END OF QUARTER                                                                                                                                     3,281,746.75
     Line 1 - Plus Line 2 - Minus Line 3 = Line 4
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           POST CONFIRMATION
           QUARTERLY BANK RECONCILEMENT

CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11

       The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll and tax accounts,
       as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental obligations, etc.
       Accounts with restricted funds should be identified by placing an asterisk next to the account number. Attach additional sheets for each bank
       reconcilement if necessary.

PERIOD COVERED: Quarter Ending March 31, 2019

Bank Reconciliations                                                Account # 1            Account # 2       Other Accounts
A.         Bank                                                   Bank of America         Plains Capital       (Attach List)
B.         Account Number                                              5692                   6239                                    TOTAL
                                                                                            Debtor In
C.         Purpose (Type)                                             Operating            Possession
1.         Balance Per Bank Statement                                  3,287,143.22         CLOSED                                    3,287,143.22
2.         Add: Total Deposits Not Credited
3.         Subtract: Outstanding Checks                                    (5,396.47)                                                      (5,396.47)
4.         Other Reconciling Items
5.         Month End Balance Per Books                                 3,281,746.75                    -                              3,281,746.75

6.         Number of Last Check Written                                 3131

7.         Cash: Currency on Hand

8.         Total Cash - End of Month                                                                                                 3,281,746.75

           CASH IN:
           INVESTMENT ACCOUNTS
                                                                Date of                 Type of
           Bank, Account Name & Number                          Purchase                Instrument                                 Value

      9.
     10.
     11.
     12.
     13.   Total Cash Investments


 14. TOTAL CASH                                                 LINE 8 - PLUS LINE 13 = LINE 14 ****                                 3,281,746.75
                                                                                                                                        ****
           ****Must tie to Line 4, Quarterly Operating Report
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            POST CONFIRMATION                                                                                         SUPPLEMENT 1

            QUARTERLY BANK RECONCILEMENT

CASE NAME: Williams Financial Group, Inc., et al.

CASE NUMBER: 17-33578-HDH-11
       The reorganized debtor must complete the reconciliation below for each bank account, including all general, payroll and tax accounts,
       as well as all savings and investment accounts, money market accounts, certificates of deposits, governmental obligations, etc. Accounts with restricted
       funds should be identified by placing an asterisk next to the account number. Attach additional sheets for each bank
       reconcilement if necessary.

PERIOD COVERED: Quarter Ending March 31, 2019
Bank Reconciliations                                                         Account # 3           Account # 4           Account # 5
A.          Bank                                                             Plains Capital        Plains Capital        Plains Capital
B.          Account Number                                                       6197                  6148                  7900               TOTAL
                                                                               Debtor In             Debtor In             Debtor In
C.          Purpose (Type)                                                    Possession            Possession            Possession
1.          Balance Per Bank Statement                                          CLOSED                           -                                        -
2.          Add: Total Deposits Not Credited
3.          Subtract: Outstanding Checks
4.          Other Reconciling Items
5.          Month End Balance Per Books                                                    -                     -                    -                   -

6.          Number of Last Check Written

7.          Cash: Currency on Hand

8.          Total Cash - End of Month

            CASH IN:
            INVESTMENT ACCOUNTS
                                                                          Date of               Type of
            Bank, Account Name & Number                                   Purchase              Instrument                                    Value

     9.
     10.
     11.
     12.
     13.    Total Cash Investments


 14. TOTAL CASH                                                           LINE 8 - PLUS LINE 13 = LINE 14 ****                                            -
                                                                                                                                                  ****
            ****Must tie to Line 4, Quarterly Operating Report
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The following constitutes the ruling of the court and has the force and effect therein described.



Signed March 27, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________




                                IN THE UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

       IN RE:                                                   §
                                                                §                    Chapter 11
       WFG ADVISORS, L.           P.1                           §
                                                                §                    Case No. 17-33581-HDH
                                                                §
               Debtor.                                          §
                                                                §

                                                      FINAL DECREE

              CAME ON FOR CONSIDERATION the Motion for Entry of Final Decree and Closing of

       WFG Advisors, L.P. Case (“Motion”) [Docket No. 46] filed by Dennis Faulkner, the duly

       appointed Liquidating Trustee of the WFG Liquidating Trust (the “Trustee”) in the above-

       captioned (the “Bankruptcy Case”), seeking the entry of a final decree closing this case and

       granting related relief; and the Court, having considered (i) the Motion and the record in this case,


   1
       This case was administratively consolidated with the related case of Williams Financial Group, Inc. under Case No. 17-



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 (ii) that sufficient notice has been provided and no objections have been filed, and (iii) that the

 United States Trustee has reviewed the Motion and has no opposition, hereby finds that the relief

 requested therein should be granted. Accordingly, it is therefore,

        ORDERED, ADJUDGED, and DECREED that the Motion is GRANTED; it is further,

        ORDERED that the Trustee is hereby released and discharged of any further obligations with

 respect to the administration of this Bankruptcy Case and his obligations under the Joint Plan and

 Trust Agreement (as defined in the Motion) with respect to this estate; provided, however, the

 Trustee is authorized to take all actions necessary to effectuate the relief granted pursuant to this

 Final Decree in accordance with the Motion and this Order and to complete the administration of the

 Trust; and it is further,

        ORDERED that, with the exception of the quarterly fees for the first quarter of 2019 which

 shall be paid at or about the time of filing of the Quarterly Report, no further U.S. Trustee quarterly

 fees shall be due and owing unless otherwise ordered by the Court; and it is further,

        ORDERED that entry of this Final Decree is without prejudice to the rights of the Trustee to

 seek to reopen this case for good cause shown pursuant to 11 U.S.C. § 350(b); and it is further

        ORDERED that the Court shall retain jurisdiction with respect to all matters arising from or

 related to the implementation of this Final Decree; and it is further,

        ORDERED that the Clerk’s Office is hereby ordered and directed to close this Bankruptcy

 Case immediately.

                                           ### END OF ORDER ###




33578-hdh11, but this Final Decree pertains only to the estate of WFG Advisors, L.P.



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Submitted by:

Joe E. Marshall
Texas Bar No. 13031100
Marshall Law
3131 McKinney Ave., Suite 600
Dallas, Texas 75204
(214) 579-9173
jmarshall@marshalllaw.net

Attorney for Dennis Faulkner,
The Liquidating Trustee




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The following constitutes the ruling of the court and has the force and effect therein described.



Signed March 27, 2019
                                            United States Bankruptcy Judge
  ______________________________________________________________________
                             IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

       IN RE:                                                §
                                                             §                    Chapter 11
       WFG MANAGEMENT SERVICES,                    INC. 1    §
                                                             §                    Case No. 17-33579-HDH
                                                             §
              Debtor.                                        §
                                                             §

                                                    FINAL DECREE

             CAME ON FOR CONSIDERATION the Motion for Entry of Final Decree and Closing of

       WFG Management Services, Inc. Case (“Motion”) [Docket No. 39], filed by Dennis Faulkner, the

       duly appointed Liquidating Trustee of the WFG Liquidating Trust (the “Trustee”) in the above-

       captioned (the “Bankruptcy Case”), seeking the entry of a final decree closing this case and

       granting related relief; and the Court, having considered (i) the Motion and the record in this case,

       (ii) that sufficient notice has been provided and no objections have been filed, and (iii) that the

       United States Trustee has reviewed the Motion and has no opposition, hereby finds that the relief

       requested therein should be granted. Accordingly, it is therefore,



   1
    This case was administratively consolidated with the related case of Williams Financial Group, Inc. under Case No. 17-
   33578-hdh11, but this Final Decree pertains only to the estate of WFG Management Services, Inc.


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       ORDERED, ADJUDGED, and DECREED that the Motion is GRANTED; it is further,

       ORDERED that the Trustee is hereby released and discharged of any further obligations with

respect to the administration of this Bankruptcy Case and his obligations under the Joint Plan and

Trust Agreement (as defined in the Motion) with respect to this estate; provided, however, the

Trustee is authorized to take all actions necessary to effectuate the relief granted pursuant to this

Final Decree in accordance with the Motion and this Order and to complete the administration of the

Trust; and it is further,

       ORDERED that, with the exception of the quarterly fees for the first quarter of 2019 which

shall be paid at or about the time of the filing of the Quarterly Report, no further U.S. Trustee

quarterly fees shall be due and owing unless otherwise ordered by the Court; and it is further,

       ORDERED that entry of this Final Decree is without prejudice to the rights of the Trustee to

seek to reopen this case for good cause shown pursuant to 11 U.S.C. § 350(b); and it is further

       ORDERED that the Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this Final Decree; and it is further,

       ORDERED that the Clerk’s Office is hereby ordered and directed to close this Bankruptcy

Case immediately.

                                     ### END OF ORDER ###


  Submitted by:

  Joe E. Marshall
  Texas Bar No. 13031100
  Marshall Law
  3131 McKinney Ave., Suite 600
  Dallas, Texas 75204
  (214) 579-9173
  jmarshall@marshalllaw.net

  Attorney for Dennis Faulkner,
  The Liquidating Trustee


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